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                            United States District Court
                                      for the
                            Southern District of Florida

   United States of America,                )
   Plaintiff                                )
                                            )
   v.                                       )
                                              Criminal Case No. 19-20450-CR-Scola
                                            )
   Alex Nain Saab Moran,                    )
   Defendant.                               )


                            Scheduling Order Setting Trial Date

        The Above Cause is hereby set for Criminal Jury Trial before the
  Honorable Robert N. Scola, Jr., United States District Judge, at 400 North
  Miami Avenue, Courtroom 12-3, Miami, Florida during the two-week period
  commencing January 3, 2022 at 9:00 a.m. or as soon thereafter as the case
  may be called.    A Calendar Call will be held at 9:00 a.m. on Tuesday,
  December 28, 2021 at 400 N. Miami Avenue, Courtroom 12-3, Miami,
  Florida.   All counsel and defendants are required to be present at the
  calendar call.
        It is further Ordered as follows:
        1.    All requests for Writs Ad Testificandum must be filed not later than
              14 business days prior to the first day of the scheduled trial period.
        2.    All responses pursuant to the Standing Discovery Order and/or
              Local Rule 88.10 shall be provided in a timely fashion in accordance
              with the dates scheduled by the Magistrate Judge. Noncompliance
              may result in sanctions.       Any Fed. R. Evid. 404(b) notice shall
              include a specific factual basis for the evidence sought to be
              introduced.
        3.    All motions filed shall be accompanied by a written statement
              certifying that counsel for the moving party has conferred with


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             opposing counsel in a good faith effort to resolve by agreement
             the subject matter of the motion as required by Local Rule 88.9.
             In a multi-defendant case, a defendant moving to continue the trial
             shall confer with all other co-defendants before filing the motion.
             The movant shall indicate in the motion the position taken by each
             other co-defendant with respect to the motion (i.e., whether the
             requested continuance is opposed or agreed to).
       4.    Counsel shall be prepared to conduct limited voir dire following the
             Court=s questioning of the panel. The Court will prepare a case-
             specific, written questionnaire to be filled out by prospective jurors
             prior to coming to the courtroom. Counsel may submit a total of five
             questions (including sub-parts) to the Court for inclusion in the
             written questionnaire. The five questions should be submitted prior
             to the Calendar Call in the case
       5.    At Calendar Call all counsel shall submit to the Court a typed list
             of proposed witnesses and/or exhibits to be presented at trial. All
             exhibits to be offered into evidence must be pre-labeled in
             accordance with the proposed exhibit list.       (Government exhibits
             are to be designated numerically; defense exhibits, alphabetically).
       6.    If a defendant elects to proceed with a defense strategy by which he
             or she concedes guilt as to one or more of the charges, defense
             counsel must notify the Court of this strategy before this strategy is
             presented to the jury. This notice is to allow the Court to conduct
             a colloquy with the defendant before the jury hears the concession.
       7.    If either party seeks to introduce transcript(s) at the trial, such shall
             be exchanged with all counsel before the scheduled day of trial. If
             a transcript cannot be agreed upon, each party shall be prepared to
             produce its own version for the trier of fact.




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       8.        All anticipated Jencks Act 1 material shall be turned over to defense
                 counsel not later than the morning of the first day of trial. The
                 material shall include a face sheet for defense counsel to sign and
                 date, acknowledging receipt.
       9.        Upon receipt of this order, counsel are directed to certify with the
                 Court=s courtroom deputy the necessity of an interpreter for the
                 Defendant. Counsel are further instructed to notify the Court, at
                 least 24 hours prior to any hearings or trial, if an interpreter is
                 required.
       10.       Counsel are instructed that arrangements for appropriate clothing
                 for Defendants in custody must be made with the Bureau of Prisons
                 at least seven (7) days prior to the scheduled trial date.
       11.       Counsel are advised to comply with Local Rule 88.5, requiring
                 the filing of speedy trial reports every 20 days hereafter until
                 the time of trial or plea.
       12.       Counsel are reminded that pursuant to the CM/ECF
                 Administrative Procedures, Proposed Orders shall be submitted to
                 the Court by E-Mail in Word format at scola@flsd.uscourts.gov.
       13.       Jury Instructions. The parties must submit their proposed jury
                 instructions jointly, though they need not agree on each proposed
                 instruction. Where both parties agree on a proposed instruction,
                 that instruction must be set out in regular typeface. Instructions
                 proposed only by a plaintiff must be underlined. Instructions
                 proposed only by a defendant must be bold-faced. Every instruction
                 must be supported by a citation of authority. The parties should use
                 as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
                 Cases, including the directions to counsel, or the applicable state


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              pattern jury instructions. The parties must jointly file their proposed
              jury instructions via CM/ECF, and must also submit their proposed
              jury instructions to the Court via e-mail at scola@flsd.uscourts.gov
              in Word format (.doc).
        14.   Notification of juror misconduct. Every party has an affirmative duty
              to notify the Court immediately of any possible juror misconduct
              or any information that might possibly reflect on a juror’s ability to
              serve. Immediate notification is required to allow the Court the
              opportunity to address the issue, including questioning the juror
              and, if necessary, discharging the juror and seating an alternate
              juror. In any trial lasting more than five days, the Court imposes an
              affirmative   duty   on   both   sides   to   conduct   all   reasonable
              investigations of juror misconduct, including statements provided
              during voir dire, and to advise the Court immediately of any
              discovered misconduct. Any party who fails to conduct a reasonable
              investigation in this situation and later discovers an incidence of
              juror misconduct has waived his, her, or its right to rely on that
              misconduct in a motion before this Court.
                    Done and Ordered in Chambers at Miami, Florida, on
              November 16, 2021.

                                               ______________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge



  cc:   counsel of record




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